                        MEMORANDUM CASES
THE COURT.
Appeal from a judgment for the plaintiff in an action for personal injuries. [1] The facts attending a collision between the motor-bus of the defendant corporation and a Ford car driven by Raymond P. McAlister, a minor, and the questions of law presented are the same as those involved in the case of Eva M.St. Clair v. Raymond P. McAlister et al., (L.A. No. 13607) ante,
p. 95 [13 P.2d 924], this day decided, except as to the name of the plaintiff, who was a passenger on the same bus at the time of the collision, the extent of the injuries, and the amount of the judgment. On the authority of that case the judgment herein is affirmed. *Page 784 